    Case:19-10772-SDB Doc#:105 Filed:12/27/21 Entered:12/27/21 11:14:04                                                   Page:1 of 2


                              UNITED STATES BANKRUPTCY COURT
                                                  Southern District of Georgia
                                                       Augusta Division

In re:                                                                                        Case No.: 19−10772−SDB
Benjamin Lamar Ivey and Sharon Lowe Ivey,                                                     Judge: Susan D. Barrett
       Debtors.
                                                                                              Chapter: 13


                     NOTICE OF HEARING ON MOTION FOR RELIEF FROM STAY


Notice is hereby given that a hearing to consider the Motion for Relief from Stay filed by First of Thomson, Inc. will be held on:

                                                        January 24, 2022, at 09:00 AM
                                                             (BY TELEPHONE)

       To participate in the hearing, use the information below and dial in at least 10 minutes prior to the scheduled hearing time:

                                                          Call: 1−888−363−4749
                                                          Access Code: 7030574
                                                         Security Code: 4172020
       While participating in the hearing, please comply with the following:
       1. Identify yourself at the beginning of the call and each time you speak for the record.
       2. Place all phones on mute when your case is not being heard.
       3. Do not use the "speaker" function. Do not place the call on hold.
       4. Users are prohibited from recording or broadcasting the proceedings conducted by the U.S. Bankruptcy
          Court for the Southern District of Georgia.

        If you are unable to utilize this telephonic service, please contact the Clerk's Office via telephone at 706−823−6000 prior to your
hearing to make other arrangements. If you experience technical difficulty at the time of your hearing and are unable to participate in your
hearing, you must promptly report such difficulty to the Clerk's Office. Otherwise, you will be deemed to have been afforded the opportunity
to participate in the hearing.

        Attorneys: Please advise your clients not to appear at the courthouse(s). You should notify your client (debtor) prior to the telephonic
hearing if their participation is required. Parties can assist the Court in facilitating telephonic hearings by contacting opposing counsel and
interested parties well in advance of hearings to resolve any issues that can be resolved.



Within seven (7) days after the date of this notice, the movant/movant's attorney is directed to serve a copy of the motion, together with a
copy of this notice, on the trustee, debtor, debtor's attorney, U.S. Trustee (except in Chapter 13 cases) and on those persons specified by
the Bankruptcy Rules. A certificate of service shall be filed with the Court immediately thereafter.



                                                                                          Lucinda Rauback, Clerk
                                                                                          United States Bankruptcy Court
                                                                                          Federal Justice Center
                                                                                          600 James Brown Blvd
                                                                                          P.O. Box 1487
                                                                                          Augusta, GA 30903
Dated: December 27, 2021
    Case:19-10772-SDB Doc#:105 Filed:12/27/21 Entered:12/27/21 11:14:04                                                Page:2 of 2
                                                                ORDER
     Pursuant to 11 U.S.C. Section 362(e), the automatic stay under 11 U.S.C. §362 is hereby continued and shall remain in full force and
effect pending the final ruling on the motion, unless movant files an objection to any such extension prior to service of the motion.




                                                                      Susan D. Barrett
                                                                      United States Bankruptcy Judge
                                                                      Federal Justice Center
                                                                      600 James Brown Blvd
                                                                      P.O. Box 1487
                                                                      Augusta, GA 30903



Dated: December 27, 2021
GASB−35supp [1/21] CMT
